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 4
     Attorney for Defendant
 5   JUAN SANCHEZ
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 7
 8                  IN THE UNITED STATES DISTRICT COURT
 9               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,            )   CASE NO. CR F-04-5209 AWI
                                          )
12                                        )   STIPULATION TO CONTINUE
           Plaintiff,                     )   SENTENCING DATE TO
13                                        )   OCTOBER 16, 2006 AND ORDER
                                          )   CONTINUING SENTENCING
14   vs.                                  )
                                          )
15                                        )   CURRENT DATE: 8/7/06
     JUAN SANCHEZ, et al.                 )   NEW DATE: 10/16/06
16                                        )
           Defendants.                    )
17                                        )
18         It is hereby stipulated by and between counsel for the government and
19   counsel for defendant that the sentencing of JUAN SANCHEZ be continued from
20   8/7/06 to 10/16/06 to coincide with the motions hearing of codefendants.
21   DATED: 7/17/06                 /s/Katherine Hart
                                    KATHERINE HART, Attorney for
22                                  Defendant JUAN SANCHEZ
23
     DATED: 7/17/06                 /s/Laurel Montoya
24                                  LAUREL MONTOYA, Assistant U.S.
                                    Attorney
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 1                                      ORDER
 2
 3         Counsel having stipulated to continue the sentencing to October 16, 2006,
 4   the same date as codefendants’ motions hearing, it is hereby ordered that the
 5   sentencing previously set for August 7, 2006 at 9:00 a.m. be reset to October 16,
 6   2006 at 9:00 a.m.
 7
 8   IT IS SO ORDERED.
 9   Dated:    July 18, 2006                 /s/ Anthony W. Ishii
     0m8i78                            UNITED STATES DISTRICT JUDGE
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